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ROBERT KLIMAS                                                    August 24, 2017



                                                                           Page 1
  1           IN THE DISTRICT COURT OF THE UNITED STATES                             09:45:36
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
  2                        EASTERN DIVISION

  3
          ESTATE OF PIERRE LOURY,
  4       Deceased, by Tambrasha
          Hudson, Administrator,
  5
                             Plaintiff,
  6
                      -vs-                             No. 16 C 04452
  7
          CITY OF CHICAGO, Chicago
  8       Police Officers SEAN HITZ
          (Star No. 6272) and JEFF J
  9       RIORDAN (Star No. 7716),

 10                          Defendants.

 11

 12                   Videotape deposition of COMMANDER ROBERT

13     KLIMAS, taken before NANCY DECOLA EATINGER, C.S.R.,

 14    and Notary Public, pursuant to the Federal Rules of

 15    Civil Procedure for the United States Courts

 16    pertaining to the taking of depositions for the

 17    purpose of discovery, at Suite 2300, 191 North Wacker

 18    Drive, Chicago, Illinois, Commencing at 9:57 o'clock

 19    a.m., taken on August 24th, 2017.

 20

 21

 22

 23

 24



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                                                                           Page 5
  1                              (Witness sworn)

  2                        COMMANDER ROBERT KLIMAS,

  3    called as a witness herein, having been first duly

  4    sworn, was examined upon oral interrogatories and

  5    testified as follows:

  6                                  EXAMINATION

  7                                By Mr. Stroth:

  8          Q    Commander Klimas, thank you for coming in

  9    today.

10           A    You're welcome.

11           Q    You are here today to give testimony on

12     behalf of the City of Chicago, is that correct?

13           A    That's correct.

14           Q    You understand that you are not giving

15     testimony in your personal capacity?

16           A    Correct.

 17          Q    Have you given deposition testimony in the

18     past?

19           A    I have.

 20          Q    About how many times approximately?

21           A    It's probably around seven or more now.

 22          Q    Have you ever testified as an expert witness

 23    in any police-involved shooting case?

24           A    No.



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                                                                          Page 10
  1          A    Correct.

  2          Q    -- is that correct?

  3                 Did you talk to anyone other than your City

  4    lawyer?

  5          A    I mentioned my deposition to the general

  6    Counsel of the City of Chicago, Chicago Police

  7    Department, aware that they were -- that I was

  8    providing a deposition.

  9          Q    Okay.         Are you currently employed with the

 10    City of Chicago?

 11          A    I am.

 12          Q    And what is your Current position?

 13          A     I'm a commander at the Bureau of Internal

 14    Affairs, Chicago Police Department.

 15          Q     Can           please describe your job
                         you
 16    responsibilities?

 17          A     Yeah, I've been a commander since August of

 18    2008.     My roles at that time and now are the same.

 19                 In between, and I'll explain, there was

 20    another commander that assisted me for a brief period

 21    of time, but we have three investigative sections

 22    within the Bureau of Internal Affairs.

 23                 It started off with General Investigations,

 24    Special Investigations and Confidential


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                                                                          Page 11
  1    Investigations.         That has changed.          Now we have Area

  2    North, Central and South along with Confidential

  3    Investigations.

  4                 My role is to review all confidential Cases,

  5    Cases that are complete.             I look -- I sign off on all

  6    of those .

  7                 Then I look at all sustained cases from the

  8    other sections, investigative sections that have a

  9    penalty of ten days or more.

10                  We also have cases that go out to the

 11    districts in units.           I do not review those.            Those

12     are lesser transgressions, but that's part of the

13     Bureau of Internal Affairs to collect and review and

 14    disseminate to the appropriate parties.

 15                 I answer questions to the various commanders

 16    and command staff regarding certain issues that come

17     up in an investigation.

 18                 I make sure we open an investigation if we

 19    become aware of misconduct of a department member,

 20    whether it's civilian or sworn, and those come from a

 21    variety of sources and make -- you know, there's

 22    issues.

 23                 We meet with the superintendent on a weekly

 24    basis, we discuss certain matters with the


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                                                                          Page 12
  1    superintendent, we have meetings periodically with --

  2    quarterly with the Cook County -- no, I'm sorry, with

  3    the corporation counsel, periodic meetings with the

  4    Cook County State's Attorney's Office and

  5    periodically with the Federal Bureau of

  6    Investigation.

  7                 Those change based -- it's really based upon

  8    issues that are occurring, whether the number of

  9    investigations and whether there's some serious

10     ongoing investigations that the FBI is looking at or

11     the Cook County State's Attorney's Office.

12                  That's, that's the bulk of my work.                 I sign

13     off on other various cases that are administratively

14     closed.

15                  So you understand, the City of Chicago has a

16     very open complaint allegation system that IPRA

17     handles, and allegations are made against police

18     officers or City department members that really are

19     not -- well, they're not City, City of Chicago,

 20    Chicago Police Department personnel.                  They could be

 21    various other agencies within the City of Chicago,

 22    and it usually comes up like with an M-plate, this

 23    M-plate went through a red light, and they file a

 24    complaint against the Chicago Police Department.


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                                                                          Page 13
  1                 Those are administratively closed.                 I sign        10:09:07

  2    off on all of those to make sure that anything that's                         10:09.10

  3    administratively closed falls, you know, within the                           10:09;13

  4    parameters that we're not going to investigate, and                           10:09:16

  5    I'm the one that has to answer to those.                                      10.09:18

  6          Q    Understood.                                                        10;09:21

  7          A    Okay.                                                              10;09:22

  8          Q    Who do you report to?                                              10.09:22

  9          A    We have a chief, and Currently that chief is                       10;09:23

 10    Eddie Welch, III, W-e-1-c-h.                                                  10;09:28

 11          Q    And prior to the position that you just                            10:09:29

 12    described, what was your position directly before                             10:09;34

 13    that?                                                                         10:09:36

 14          A    Prior to that I was a special agent with the                       10:09:37

 15    Federal Bureau of Investigation, and I was a special                          10.09:40

 16    agent from 1987 to 2008, and that was -- I retired at                         10:09;43

 17    the end of July of 2008.                                                      10;09;49

 18          Q    And what were your duties in that role, in                         10;09;51

 19    that position?                                                                10:09;55

 20          A    It changed over the years, but the bulk of my                      10:09:55

 21    investigation work was in white collar, insurance                             10;09;59

 22    fraud, Commodities fraud, securities fraud, bank                              10:10:06

 23    fraud, wire fraud, and it was -- I worked in Phoenix,                         10:10:09

 24    Little Rock and Chicago.                                                      10:10:21



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                                                                          Page 18
  1          THE WITNESS:        What I'm, again, struggling with is

  2    we're talking about the investigation, and so the

  3    practices of our officers in that investigation

  4    failing to, failing to conform to our policies.

  5                 There will be times that there are, and when

  6    you have police-involved shootings, again, they're

  7    investigated by IPRA, but I am aware of certain

  8    instances in which in the IPRA investigations they

  9    have concluded that officers did not conform to

 10    policies, and the shooting may be justified, but

 11    there are other things that come up that they

 12    sustained an allegation that the officers failed to

 13    conform from various policies and rules and

 14    regulations, and that could be minor.                   It could be

 15    officers need to have the same ammunition in their

 16    magazine, there are times when they don't.                     It has to

 17    be the same brand.

 18                 They also -- it could be as serious as a

 19    Rule 14, and that's a false -- making a false

 20    statement oral or written, and again, the shooting

 21    may have been justified, but they -- their conclusion

 22    is the officer lied, and they will seek separation of

 23    that officer.

 24          MR. STROTH:        Q    Can you provide me with a


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                                                      Page 19
  1    specific example or a case or -- that you remember

  2    where there was this type of inquiry?                                         i~',

  3          A     The minor transgressions occur -- I don't                          I

  4    have a specific name of a law member.                   When they look

  5    at the ammunition in an officer's magazine or the

  6    shell casings, they need to be the same.                    That

  7    occurs.

  8                 We're still talking -- you know, if they

  9    have a nine-millimeter semi-automatic weapon; they

 10    have nine-millimeter rounds, but it's -- they're

 11    mixing a Federal brand with a Remington brand, okay,

 12    and that's, that's a minor -- they're still

 13    nine-millimeter rounds, but they have to be the same

 14    brand in the magazine.            That occurs.

 15          MR. SCHOOP:        Could you clarify Federal versus

 16    Remington?

 17          THE WITNESS:        Oh, I'm sorry.         Federal is a brand,

 18    Federal brand of ammunition, okay.                  It's a well-known

 19    company --

 20          MR. STROTH:        Q    Yes.

 21          A     -- that manufactures ammunition.                Remington

 22    is another manufacturer of ammunition and very common

 23    brands of nine millimeter.

 24                 And the Rule 14, I don't recall the name of



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                                                                         Page 20
  1   the incident, but I do recall the facts in which an                            10:19:17

  2   officer was off duty, was working security for a                               10;19;22

  3   Mexican restaurant, and there was a car pulls up and                           10;19:31

  4   shoots at some people there in front of the                                    10:19;35

  5   restaurant on the sidewalk.                                                    10:19;40

  6                The officer ends up shooting at a car which                       10;19.41

  7   he believed was the car that shot at the victims on                            10;19:45

  8   the, on the sidewalk.                                                          10;19.52

  9                His -- the shooting itself may have been                          10;19;55

 10   justified, but I do recall that they -- the officer,                           10;19;58

 11   and I don't know the colors of the car, he said it                             10;20;03

 12    was blue when, in fact, it was red.                                           10;20;06

 13                It was a material fact, and it was actually                       10:20.08

 14   the opposite because there was two cars involved, and                          10:20;13

 15   IPRA sought separation on a Rule 14 violation, and                             10;20:18

 16    the superintendent concurred with that.                                       10;20;21

 17                In fact, the superintendent wrote a PAX 501.                      10:20:23

 18   It's an all-employee memo that goes out and                                    10;20:31

 19   explaining his position regarding that incident, but                           10:20:35

 20    that --                                                                       10;20:38

 21         Q     Could you define PAX 501, can you tell me                          10:20:38

 22    what that is?                                                                 10.20;42

 23         A     Yeah.     It's a memo that goes out from the                       10;20;43

 24    superintendent.         They're periodic, I would say three                   10:20:46



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                                                                         Page 28
  1   written policies in its real application, in its real                          10.31:16

  2   practice, does that match with the written policies?                           10:31:19

  3   That's the core of the question.                                               10.31:21

  4         A     Okay.     You are going to have arguments on                       10;31:23

  5   both sides.                                                                    10:31;34

  6                When there -- when a matter is sustained,                         10;31;36

  7    when there's discipline and if there is discipline,                           10;31:39

  8   the investigation has sustained an allegation, and                             10:31;43

  9   now it goes through a process of what is the penalty,                          10:31;49

 10   and that penalty could be as severe as separation or                           10:31:54

 11   it could be a reprimand, okay, and you're going to                             10;31:57

 12   have arguments by command channel.                                             10;32:01

 13                You Could have disagreement with the                              10;32:06

 14   superintendent and IPRA, and even if the                                       10:32;08

 15   superintendent and IPRA agrees that an officer should                          10;32;11

 16   be separated, it's got to go to the Police Board, and                          10:32;14

 17   the Police Board may disagree with IPRA and the                                10:32;19

 18   superintendent and find -- well, they could do a                               10:32:24

 19   number of things.                                                              10;32;30

 20                They could find the officer did not violate                       10:32:31

 21    any policies and restore them back to their position.                         10;32:34

 22   They could agree with the -- IPRA and the                                      10:32:39

 23   superintendent but not separate that officer, or they                          10:32:42

 24    could agree with the -- IPRA and the superintendent                           10:32:47



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                                                                              Page 44
     1            MR. STROTH:      Q     So was the number for the

     2    penalty written --

      3         A     No.

~I   4            Q   -- during that time period in question?

      5                Okay, thank you.          Can we go off the record

     6    for a few minutes?

      7         THE VIDEOGRAPHER:          Off the record at 10:52 a.m.

      8                (Brief recess taken.)

      9         THE VIDEOGRAPHER:          Back on the record at 10:53

     10    a.m.

     11           MR. STROTH:      Q     Does the City of Chicago have in

     12   place policies and practices that impede the.

     13   investigation of officer misconduct?

     14           MR. SCHOOP:      That impede?

     15           MR. STROTH:      Impede.

     16           MR. SCHOOP:      Impede.      You're talking from the

     17    time from 2010 to 2016?

     18           MR. STROTH:      Yes, 2010 to 2016.

     19           MR. SCHOOP:      Do you understand the question?

     20         THE WITNESS:           I do.

     21           MR. SCHOOP:      Okay.       Go ahead and answer the

     22    question.

     23           THE WITNESS:      Again, this is one that people

     24    could disagree with and argue one way or the other,



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                                                                          Page 45
  1    but the Internal Affairs Division and IPRA to be now

  2    COPA operate -- have to operate under the framework

  3    in which various Collective Bargaining Agreements

  4    have been approved, and there's various State

  5    statutes that cover concern, especially like

  6    anonymous complaints and sworn affidavits, so we have

  7    to abide by those Collective Bargaining Agreements,

  8    and we have to abide by the State statute and City

  9    ordinances.

10                 Obviously those things Can change, and

11     during this timeframe, from 2010 to 2016, we did

12     change the various levels of appeals for police

13     misconduct that was sustained.

14                 So prior to the 2012 contract, I believe

15     it's 2012, the officers were able to take a matter to

16     the Police Board or to grieve it or take it to the

17     superintendent.         There was -- and I could be -- there

18     was three levels of review or appeals.

19                 Now -- and that delays the process because

20     one could take a while, then you go to the other,

21     then you go to the other.             And now you get one bite

22     of that apple; so to speak.              You have to choose, so

23     that speeds up the process.

24                 That is probably an example in which people


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                                                                          Page 46
  1    would argue that impeded the disciplinary process

  2    because it took so long for a final decision.

  3                Another example that people discuss is the

  4    sworn affidavit, and again, that's State statute, and

  5    it's Collective Bargaining Agreement.                  Obviously

  6    those things can be changed, but until then we have

  7    to operate under that.

  8                 Now, that doesn't mean we cannot investigate

  9    something in which we don't have a sworn affidavit if

10     we have independent verifiable evidence of that

11     allegation.

12                 So if someone came in with an allegation of

13     police misconduct and then fails or refuses to sign

14     an affidavit,, if we have independent verifiable

15     evidence, example, an audiotape or video of that

16     incident, we Can override that sworn affidavit

17     requirement, okay.

18                 So another example of which the process has

19     sped up is the command channel review.                   If an

20     investigation is sustained and it's less than

21     separation, it goes through a command channel review

22     process.      That investigation goes to the commanding

23     officer of that officer that was charged and then the

24     next level up; typically a deputy chief.


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                                                                          Page 47
  1                That process is kind of bogged down, and we                       10:59:14

  2    now implemented 15 days for each level.                   If you don't        10:59:18

  3    respond in 15 days, you're deemed to accept it, and                           10:59:24

  4    it moves on to the next level, and after the deputy                           10;59:28

  5    chief, it usually goes back to the chief of Internal                          10:59:32

  6    Affairs for final disposition and then obviously the                          10;59;35

  7    superintendent who has the final say.                                         10;59;37

  8                That has sped up the process, so things have                      10:59:39

  9    changed during this 2010 to 2016 to speed up the                              10;59:42

 10    investigations, but we still have to work under the                           10;59;51

 11   framework of the Collective Bargaining Agreements and                          10;59:55

 12    State law.                                                                    11;00;00

 13         MR. STROTH:        Q    Commander Klimas, does the City                  11:00:02

'14   of Chicago's disciplinary system lack integrity?                               11;00;04

 15         MR. SCHOOP:        I'm going to object to the clearly                    11:00:08

 16   argumentative form of the question, and that's --                              11;00;10

 17   that's not with -- that's not a good faith                                     11:00:14

 18   interpretation of the designation for Paragraph 6.                             11;00:17

 19         MR. STROTH:        Q    We disagree with counsel's                       11:00:19

 20   perspective.        My question is simple.                                     11;00;22

 21                Commander Klimas, does the City of Chicago's                      11:00:25

 22   disciplinary system lack integrity from your -- from                           11:00:27

 23   the City's perspective?                                                        11:00:31

 24         MR. SCHOOP:        You know what, Commander, go ahead                    11:00:31



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                                                                          Page 48
  1    and answer the question.

  2         THE WITNESS:           I would strongly disagree.           It has

  3    integrity because we discipline officers all the

  4    time, and we investigate criminal activity of

  5    officers, and we have charged, worked with State's

  6    attorneys or the Federal agencies, and we have

  7    prosecuted department members, and they have gone to

  8    jail, both civilians and sworn members.

  9                If we didn't have integrity, then no one --

10     no matters would be sustained, no one would go to

11     jail, and we take discipline seriously, and I believe

12     it has a lot of integrity.

13          MR. STROTH:        Q     Thank you.

14                 Does the City of Chicago's disciplinary

15     system fail to effectively deter officer misconduct?

16          MR. SCHOOP:        Again, counsel, this question is

17     asking for an opinion that I would strongly and

18     vociferously suggest is outside the scope of

19     Paragraph 6.

20                 But Commander, do you understand the

21     question?

22          THE WITNESS:        I do.

23          MR. SCHOOP:        Go ahead and answer the question,

24    please.


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                                                                          Page 49
  1         THE WITNESS:        The -- it does.         We -- there are

  2    matters that come to our attention in Internal

  3    Affairs or the superintendent has asked us to conduct

  4    some various investigations.              Discipline should --

  5    the ultimate goal is to change behavior if it's

  6    serious.

  7                You're always going to have minor

  8    transgressions, okay, you're late for roll call for

  9    whatever reason, and you liked -- you know, that

10     usually goes to the district, hey, you know, you

11     could start off with a SPAR, if you Continue to be

12     late, either you get a new alarm clock or you're

13     going to go up to the next level and you're going to

14     take more time off.

15                 You're trying to discipline the officer to,

16     you know, change their behavior.. It's just like

17     being a parent.         Doesn't mean that you don't love

18     your children, but you have to discipline them at

19     times, and it's the same thing in the police

20     department, we're trying to change their behavior.

21                 If it gets serious enough, then the

22     penalties go up, and if the matter is serious, it

23     could start out at a serious penalty, okay, and if

24     it's just so outrageous, it could -- first time could


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